          Case 4:15-cr-01723-RCC-DTF Document 172 Filed 06/14/17 Page 1 of 5



     Sean C. Chapman
 1
     Law Office of Sean C. Chapman, P.C.
 2   100 North Stone Avenue, Suite 701
     Tucson, Arizona 85701
 3   Telephone: (520) 622-0747
 4   Fax: (520) 628-7861
     Arizona State Bar No. 012088
 5   Attorney for Defendant
     Sean@seanchapmanlaw.com
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                                  FOR THE DISTRICT OF ARIZONA
 9
     UNITED STATES OF AMERICA,                  ) CR 15-1723 TUC RCC (DTF)
10                                              )
                    Plaintiff,                  )
11                                              )    MOTION FOR WITNESS LIST
            v.                                  )
12                                              )
     Lonnie Ray Swartz,                         )
13                                              )
                    Defendant.                  )
14                                              )
15
            It is expected that excludable delay under Title 18, United States Code, §
16
     3161(h)(1)(F) will occur because of this motion or an order based thereon.
17

18          The Defendant, Lonny Swartz, through undersigned counsel, Sean C. Chapman
19
     of THE LAW OFFICE OF SEAN C. CHAPMAN, P.C., pursuant to Rule 16 of the
20
     Federal Rules of Criminal Procedure, hereby moves for an Order compelling the
21

22   Government to provide a list of witnesses to be called at trial and to indicate the order
23
     of such witnesses. 1 This motion is made for the reasons set forth below.
24

25   1 Pursuant to L.R.Crim. 12.1(a) and L.R.Civ. 7.2(j), undersigned counsel certifies that after
26   personal consultation and sincere efforts to do so, counsel have been unable to satisfactorily
     resolve this matter.

                                                    1
              Case 4:15-cr-01723-RCC-DTF Document 172 Filed 06/14/17 Page 2 of 5




 1
                       MEMORANDUM OF POINTS AND AUTHORITIES

 2       I.       FACTS RELEVANT TO THE RESOLUTION OF THIS MOTION
 3
               Early in 2016 the parties and this Court agreed that this case should be designated
 4
     as “complex” within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii).2 (Doc. 19, 24.) At
 5

 6   that time, the Government had disclosed approximately 7,000 pages of documents.
 7
     (Doc. 19.) Since then, the documentary disclosure has grown to over 11,000 pages, and
 8
     continues to be supplemented. In the past few months, for example, the Government has
 9

10   disclosed two new expert witnesses.
11
               The parties are diligently working to be ready for the firm trial date of October
12
     12, 2017. While the Government has been generally cooperative and forthcoming in
13

14   providing disclosure thus far, there is no reciprocal disclosure agreement entered into by
15   the parties and no scheduling order respecting deadlines to produce Rule 15 disclosure.
16
     The defense has no way of knowing what remains to be disclosed by the Government,
17

18   what additional investigation will be necessitated by any new disclosure, or what
19   additional motions will need to be resolved prior to trial based on new disclosure.
20
               An Order based on this motion will enable defense counsel to focus on the
21

22   witnesses that the Government intends to call at trial, rather than to cull the thousands

23

24   2 The statute provides that the Court determine “[w]hether the case is so unusual or so
     complex, due to the number of defendants, the nature of the prosecution, or the
25
     existence of novel questions of fact or law, that it is unreasonable to expect adequate
26   preparation for pretrial proceedings or for the trial itself within the time limits
     established by this section.”

                                                    2
          Case 4:15-cr-01723-RCC-DTF Document 172 Filed 06/14/17 Page 3 of 5




 1
     of pages of disclosure and proceed by guesswork. An Order will also promote

 2   efficiency and conserve judicial resources by ensuring a smooth trial with fewer breaks
 3
     and delays.
 4
        II.      LAW
 5

 6            Every district court is charged with effectuating the speedy and orderly
 7
     administration of justice. United States v. W.R. Grace, 526 F.3d 499, 508 (9th Cir. 2008)
 8
     (en banc). As the Ninth Circuit explained, this mandate authorizes the district court to
 9

10   “enter pretrial case management and discovery orders designed to ensure that the
11
     relevant issues to be tried are identified, that the parties have an opportunity to engage
12
     in appropriate discovery and that the parties are adequately and timely prepared so that
13

14   the trial can proceed efficiently and intelligibly.” Id. at 508-09. Orders setting the
15   timing for Rule 16 discovery are, therefore, well within this Court’s inherent power to
16
     manage its docket. Id. at 509. In addition, the Rules of Criminal Procedure expressly
17

18   grant to the district court the ability to regulate discovery by granting any “appropriate
19   relief.” Fed.R.Crim.P. 16 (d)(1).
20
              Rule 16 of the Federal Rules of Criminal Procedure requires the Government to
21

22   disclose its expert witnesses, along with a summary of the expert’s options, the bases

23   and reasons for those opinions, and the witness’s qualifications. Fed.R.Crim.P.
24
     16(a)(1)((G). In W.R. Grace, the Ninth Circuit resolved the question of pretrial
25

26   disclosure of non-expert witness, holding “[a]lthough Rule 16 does not expressly


                                                 3
           Case 4:15-cr-01723-RCC-DTF Document 172 Filed 06/14/17 Page 4 of 5




 1
     mandate the disclosure of non-expert witnesses, it is not inconsistent with Rule 16 and

 2   Rule 2 for a court to order the government to produce a list of such witnesses as a
 3
     matter of its discretion.”3 Id. at 511 (citations omitted.)
 4
            Given the complexity of this case and the number of potential witnesses
 5

 6   involved, requiring the Government to produce its list of witnesses well in advance of
 7
     trial will bring the necessary focus and organization to ready the case for trial. Id. at 513
 8
     (affirming as reasonable the court’s order requiring the government to disclose its final
 9

10   list of witnesses a year before trial was set to begin.) The Government could
11
     realistically call over 100 witnesses; therefore, the defense requests that the
12
     Government identify each witness it intends to call, and the order in which it intends to
13

14   call them. This will ensure that the trial runs smoothly because the defense will be
15   prepared to examine the witnesses as they are called.
16
            The defense will reciprocate by providing an in-order witness list.
17

18       III.   CONCLUSION
19          For all the foregoing reasons, this Court should enter an Order compelling the
20
     Government’s to provide the requested witness list.
21

22

23

24   3  Rule 2 of the Federal Rules of Criminal Procedure provides: “These rules are to be
     interpreted to provide for the just determination of every criminal proceeding, to secure
25
     simplicity in procedure and fairness in administration, and to eliminate unjustifiable
26   expense and delay.”


                                                   4
          Case 4:15-cr-01723-RCC-DTF Document 172 Filed 06/14/17 Page 5 of 5




 1
                         Respectfully submitted this 12th day of June, 2017.

 2
                            LAW OFFICES OF SEAN CHAPMAN, P.C.
 3
                               BY: /s/ Sean Chapman
 4                                 Sean Chapman
 5

 6

 7
                                     CERTIFICATE OF SERVICE
 8
           The undersigned certifies that on June 14, 2017, caused to be electronically filed
 9

10   the foregoing document with the Clerk of the Court using the CM/ECF system which
11   sent notification to the following:
12
     Wallace H. Kleindienst
13   Mary Sue Feldmeier
14   Wallace.Kleindienst@usdoj.gov
     Mary.Sue.Feldmeier@usdoj.gov
15   US Attorneys Office – Tucson, AZ
16   405 W. Congress, Suite 4800
     Tucson, AZ 85701-4050
17

18   Serena Lara

19

20

21

22

23

24

25

26



                                                 5
